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                                                                     UNITED STATES DISTRICT COURT
                                   2                                CENTRAL DISTRICT OF CALIFORNIA

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                                   5       Julio C. Alas, et al.,
                                   6                        Plaintiffs,              Case No. 2:17-cv-8106-VAP-RAOx
                                   7                        v.
                                                                                                  JUDGMENT
                                   8       AT&T, Inc., et al.,
                                   9                        Defendants.
                                  10
Central District of California
United States District Court




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                                  12         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                  13         Pursuant to the Order awarding Summary Judgment in favor of
                                  14   Defendants AT&T Services, Inc., et al., IT IS ORDERED AND ADJUDGED
                                  15   that the action, Julio C. Alas, et al. v. AT&T, Inc., et al., 2:17-cv-8106-VAP-
                                  16   RAOx, is DISMISSED WITH PREJUDICE. The Court orders that such
                                  17   judgment be entered.
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                                       IT IS SO ORDERED.
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                                  21       Dated:      9/28/21
                                                                                            Virginia A. Phillips
                                  22                                                   United States District Judge
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